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                         IN THE UNITED STATES DISTRICT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ANIL GOYAL,                                  )
                                             )
        Plaintiff,                           )
                                             )    No. 05 C 5069
v.                                           )
                                             )    Judge Rebecca R. Pallmeyer
GAS TECHNOLOGY INSTITUTE,                    )
                                             )    Magistrate Judge Arlander Keys
        Defendant.                           )

        MOTION FOR LEAVE TO WITHDRAW AS ATTORNEYS OF RECORD

        Christopher N. Mammel and Victor Jacobellis of the law firm Childress Duffy

Goldblatt Ltd. hereby request that this Honorable Court allow them to withdraw as

attorneys of record for Plaintiff Anil Goyal.

        1.     Christopher N. Mammel and Victor Jacobellis of Childress Duffy

Goldblatt, Ltd. are the attorneys of record for the Plaintiff Anil Goyal.      Due to

irreconcilable differences in connection with Plaintiff’s representation, said

attorneys can no longer effectively or appropriately represent Plaintiff in this

matter consistent with applicable rules of professional conduct. Thus, undersigned

counsel request that the Court enter an order granting leave to withdraw as the

attorneys of record for Plaintiff in this case.

        2.     Counsel has advised Plaintiff of the filing of this Motion, the hearing

date of the Pretrial conference, January 7, 2009, and the trial date of January 12,

2009.
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       3.    As of the date of filing this Motion, Plaintiff has not advised counsel of

who, if anyone, will represent him in this matter. Accordingly, all correspondence,

notices, and communications should be directed to the Plaintiff Anil Goyal at 338

Waterford Dr., Willowbrook, IL 60527

       WHEREFORE, Christopher N. Mammel and Victor Jacobellis of the law firm

Childress Duffy Goldblatt Ltd., hereby request that this Honorable Court enter an

Order granting leave to withdraw from representation of Plaintiff herein, together

with such other and further relief appropriate to avoid prejudice to the interests of

Plaintiff.

                                       Respectfully submitted,

                                       s/Christopher N. Mammel



Christopher N. Mammel (6231492)
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